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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

CHARLES WORKMAN, et al.,                         )
                                                 )
       Plaintiffs,                               )         Case No. 5:20-cv-00396-GFVT
                                                 )
v.                                               )
                                                 )                      ORDER
TEXAS EASTERN TRANSMISSION, LP, et               )
al.,                                             )
                                                 )
       Defendants.                               )

                                  ***** ***** ***** *****

       This matter is before the Court on the parties’ Agreed Order of Partial Dismissal. [R.

32.] The parties being in agreement, and the Court being sufficiently advised, it is hereby

ORDERED that all claims by Plaintiffs Charles Workman, Tina Cox (individually and as the

parent and next friend of the minor children O.C. and G.M.), O.C., G.M., Stephanie Moore

(individually and as the parent and next friend of the minor children C.M., L.M., and J.M.),

C.M., L.M., J.M., Billy Griffin (individually and as the parent and next friend of the minor child

C.G.), C.G., and Sara Ebert against Defendants Texas Eastern Transmission, LP, Spectra Energy

Operating Company, LLC, Spectra Energy Transmission Services, LLC, Spectra Energy

Transmission Resources, LLC, Spectra Energy, LLC f/k/a Spectra Energy Corp., Enbridge (U.S.)

Inc., and Michael Clem are hereby DISMISSED WITH PREJUDICE. The claims against the

Defendants not named above shall remain.
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     This the 24th day of October, 2022.
